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                               UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF LOUISIANA

 Dorothy Nairne, et al.,

         Plaintiffs,

 v.
                                                       Civil Action: 3:22-cv-00178

 Kyle Ardoin, in his official capacity as
 Secretary of State for Louisiana,

         Defendant.




                           MOTION FOR PRO HAC VICE ADMISSION

       MAY IT PLEASE THE COURT:

       In accordance with Local Rule 83 governing Visiting Attorneys of the United States

District Court of Louisiana, the undersigned, Angelique Freel, counsel for the Intervenor-

Defendant, the State of Louisiana, by and through Attorney General Jeff Landry, and a member of

the Bar of the State of Louisiana in good standing and of this court, respectfully requests this Court

to permit Brennan Bowen to appear and participate pro hac vice as additional counsel on behalf of

the Attorney General and State of Louisiana in both of the above captioned actions.

                                                  1.

       Mr. Bowen is a licensed attorney admitted to practice in the state of Arizona. Mr. Bowen

practice is located at 2575 E. Camelback Road, Suite 860, Phoenix, AZ 85016. Mr. Bowen is a

member in good standing with the Arizona State Bar.

                                                  2.

       Pursuant to Local Rule 83, the Affidavit of Brennan Bowen is attached hereto in support

of this motion as Exhibit “A”. The affidavit states that Brennan Bowen is a member in good




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standing with the Arizona State Bar and was admitted on May 3, 2021. Brennan Bowen is admitted

to practice law in Arizona and the Ninth Circuit.

                                                 3.

       Also, Pursuant to Local Rule 83, a Certificate of Good Standing from the Supreme Court

of Arizona is attached to Mr. Bowen’s Affidavit verifying that Brennan Bowen is admitted to

practice in that Court and is in good standing therein.

       WHEREFORE, Angelique Freel, counsel of record for Defendant, The State of Louisiana,

in these consolidated cases and a member in good standing, prays that this court enter an Order

permitting Brennan Bowen to appear pro hac vice as counsel on behalf of The State of Louisiana,

in the above captioned matters.

Dated: July 21, 2023
                                               Respectfully submitted,

                                              /s/ Angelique Duhon Freel
                                              Angelique Duhon Freel (La. Bar Roll No. 28561)
                                              Carey Tom Jones (La. Bar Roll No. 07474)
                                              Jeffrey M. Wale (La. Bar Roll No. 36070)
                                              Assistant Attorneys General
                                              Louisiana Department of Justice
                                              Civil Division
                                              P. O. BOX 94005
                                              Baton Rouge, Louisiana 70804-9005
                                              Telephone: (225) 326-6060
                                              Facsimile: (225) 326-6098
                                              Email: freela@ag.louisiana.gov
                                                      walej@ag.state.la.us
                                                      jonescar@ag.louisiana.gov

                                              Jason Torchinsky (DC 976033)
                                              Phillip M. Gordon (DC 1531277)
                                              Dallin Holt (VSB 97330)
                                              Brennan Bowen (AZ 36639)*
                                              HOLTZMAN VOGEL BARAN
                                              TORCHINSKY & JOSEFIAK PLLC
                                              15405 John Marshall Hwy
                                              Haymarket, VA 20169
                                              Telephone: (540) 341-8808
                                              Facsimile: (540) 341-8809




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                                             Email: jtorchinsky@holtzmanvogel.com
                                                    pgordon@holtzmanvogel.com
                                                    dholt@holtzmanvogel.com
                                                    bbowen@holtzmanvogel.com

                                                    *pro hac vice motion forthcoming

                                CERTIFICATE OF SERVICE

       I hereby certify that, on this 21st day of July 2023, the foregoing has been filed with the

Clerk via the CM/ECF system that has sent a Notice of Electronic filing to all counsel of record.

                                   /s/ Angelique Duhon Freel
                                     Angelique Duhon Freel




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